Case 3:10-cv-04958-JSW Document 52 Filed 04/18/11 Page 1 of 3
Case 3:10-cv-04958-JSW Document 52 Filed 04/18/11 Page 2 of 3
Case 3:10-cv-04958-JSW Document 52 Filed 04/18/11 Page 3 of 3




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